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                        UNITED STATES DISTRICT COURT FOR
                         THE MIDDLE DISTRICT OF FLORIDA
                                ORLANDO, FLORIDA

JACQUELINE GUNTER,                                 Civil Action No.: 6:16-CV-28-ORL
    Plaintiff,

       and

SPRINTCOM, INC., d/b/a
SPRINT PCS, a foreign corporation.
      Defendants.
___________________________________/


                         NOTICE OF VOLUNTARY DISMISSAL

Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff, Jacqueline
Gunter, by and through the undersigned counsel, hereby give notice that the above captioned
action is voluntarily dismissed, with prejudice against Defendants.


                               CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on March 8, 2017, a true copy of the foregoing was filed with the
Clerk of the Court using the CM/ECF system and that a copy hereof will be electronically served
by the electronic filing system upon all counsel of record.

                                                                _____/s/ Alisia Adamson___
                                                                         Alisia Adamson, Esq.
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